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l4. NAME AND MAJLING ADDRESS OF LAW FlRM (oniy provide periostructlons)

   

 

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Prior Attorney‘s Nlnie:

 

Appoiniment Dlte:

l:l Beeniise the nbove~nlnied person represented his testified under oath or luis

otherwise satisfied this court that he or she (I) is financially unable to employ counsel end

(2) does nol wish lo waive counsel and because ille `inl o stiee so require, the

attorney whose name appears iii item ll is sppo to represent this person io this ease.
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UNITED s`TATEs DRISTIC COURT - WESTER DI's'TRICT oF ENNESSEE

 

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This notice confirms a copy of the document docketed as number 84 in
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Honorable J on McCalla
US DISTRICT COURT

